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                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:
                                                         Case No.: 21-11750-PMM
 MIDNIGHT MADNESS DISTILLING
                                                         Chapter 7 case
           Debtor.
                                                    /


 BONNIE B. FINKEL, in her capacity as Chapter
 7 Trustee for Midnight Madness Distilling,

           Plaintiff,
                                                          Adv. Pro. No.: 23-00047-PMM
 v.

 CASEY PARZYCH; SHAWN SHEEHAN;
 ANGUS RITTENBURG, KELLY FESTA,
 ASHLEIGH BALDWIN; MICHAEL BOYER;
 R.F. CULBERTSON; GARY PARZYCH; RYAN
 USZESNKI; POLEBRIDGE LLC; GOOD
 DESIGN, INC.; AGTECH PA LLC; AGTECH VI,
 LLC; XO ENERGY WORLDWIDE LLLP; XO
 EW, LLC; CAN MAN LLC; BEST BEV, LLC;
 ETOH WORLDWIDE, LLC; CANVAS 340, LLC;
 FINLAND LEASING CO., INC.; and EUGENE T.
 PARZYCH, INC.

           Defendants.
                                                    /

          MOTION FOR ADMISSION PRO HAC VICE OF ROBERT K. BESTE, ESQ.

          Pursuant to Local Rule 2090-1(c) of the United States Bankruptcy Court for the Eastern

District of Pennsylvania, Steven L. Caponi, Esquire, hereby moves for the admission pro hac vice

of Robert K. Beste, Esq. of K&L Gates LLP to appear as counsel for the Defendants AgTech PA

LLC; AgTech VI, LLC; Ashleigh Baldwin; Best Bev, LLC; Michael Boyer; Canvas 340 LLC;

R.F. Culbertson; EtOH Worldwide, LLC; Kelly Festa; Good Design, Inc.; Best Bev, LLC, Casey

Parzych; Polebridge, LLC; Angus Rittenburg; Shawn Sheehan; XO EW, LLC; and XO Energy
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Worldwide, LLLP (“Defendants”) in the above-captioned bankruptcy case.

       1.       A Verified Declaration of Mr. Beste is submitted herewith and incorporated herein

by reference.

       2.       Movant, Steven L. Caponi, is a member in good standing of, inter alia, the Supreme

Court of the Commonwealth of Pennsylvania, as well as the United States District Court for the

Eastern District of Pennsylvania, and is local counsel for Defendants in this bankruptcy case.

       3.       Applicant will tender the required fee for pro hac vice admission.

       WHEREFORE, Movant respectfully requests that this Honorable Court admit, pro hac

vice, Robert K. Beste as counsel for Defendants, and for such other relief as is just and equitable.

 Dated: April 21, 2025                               K&L GATES LLP

                                                     /s/ Steven L. Caponi
                                                     Steven L. Caponi (No. 91881)
                                                     600 N. King Street, Suite 901
                                                     Wilmington, DE 19801
                                                     Phone: (302) 416-7000
                                                     steven.caponi@klgates.com

                                                     Entering Counsel for Defendants AgTech PA
                                                     LLC, AgTech VI, LLC, Ashleigh Baldwin,
                                                     Best Bev LLC, Michael Boyer, Canvas 340,
                                                     LLC, R.F. Culbertson, EtOH Worldwide LLC,
                                                     Kelly Festa, Good Design, Inc., Casey
                                                     Parzych, Polebridge, LLC, Angus Rittenburg,
                                                     Shawn Sheehan, XO EW, LLC, and XO
                                                     Energy Worldwide, LLLP




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